                                                                               Motion GRANTED.



                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

  UNITED STATES OF AMERICA                      )
                                                )
  v.                                            )      Docket No. 3:11-cr-00082-7
                                                )      JUDGE TRAUGER
  PATRICK DEWAYNE SMITH                         )

  MOTION FOR LEAVE OF COURT TO JOIN CO-DEFENDANT’S MOTION TO
   SUPPRESS (DOCKET 846) AND FOR AN EXTENSION OF TIME TO FILE A
                      MEMORANDUM OF LAW

         Comes now the Defendant, Patrick DeWayne Smith, by and through undersigned

  counsel, and moves this Court to allow Mr. Smith to join in his Co-Defendant’s Motion

  to Suppress Evidence Obtained Pursuant to Title III Wiretap found at docket entry no.

  846.

         Additionally, counsel would move the Court for an extension of six (6) days in

  which to file any amendments to the above captioned Motion to Suppress and in which

  time to file a Memorandum of Law in Support of the Motion to Suppress. That deadline

  of May 30, 2012, is the same deadline set by the court for the submission of any

  memorandum on behalf of co-defendant Travis Lynn Gentry (Doc. No. 854)

         The constitutional issues contained in the Motion to Suppress affect the case of

  Mr. Smith in the same manner as they affect the other defendants seeking a suppression

  of the wiretaps in question. These issues are potentially dispositive.




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